      Case 2:15-cv-00997-JRG-RSP Document 25 Filed 12/30/15 Page 1 of 1 PageID #: 104
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court       for the Eastern District of Texas, Marshall Division                   on the following
      G Trademarks or         G
                              ✔ Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
       2:15-cv-997                          6/8/2015                        for the Eastern District of Texas, Marshall Division
PLAINTIFF                                                                 DEFENDANT
 DIGITAL TECHNOLOGIES LLC                                                   SONY COMPUTER ENTERTAINMENT AMERICA LLC,



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 8,671,195                                3/11/2014                DIGITAL TECHNOLOGIES LLC

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims in this action against Defendant are dismissed
 WITH prejudice, and Defendant’s counterclaims are dismissed WITHOUT prejudice.



CLERK                                                      (BY) DEPUTY CLERK                                            DATE
                                                             Nakisha Love                                                      12/30/15
Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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